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              IN THE UNITED STATES DISTRICT COURT FOR THE
                      NORTHERN DISTRICT OF FLORIDA
                          PANAMA CITY DIVISION




UNITED STATES OF AMERICA

v.                                              CASES NO. 5:17cr38-RH

TERRY MICKEL KNIGHT, JR.,

                   Defendant.

_______________________________/


                       ORDER DENYING COMPASSIONATE RELEASE


         The defendant Terry Mickel Knight, Jr. is serving a sentence in the Bureau

of Prisons. He has moved for what is commonly known as “compassionate release”

based on the covid-19 pandemic. He asserts he suffers from gastroesophageal

reflux disease and chronic anxiety. The presentence report noted a history of

treatment for anxiety.

         Until recently, a district court could grant compassionate release only on

motion of the Director of the Bureau of Prisons. The First Step Act changed this,

allowing a sentence reduction on the motion of the Director or the defendant. See

18 U.S.C. § 3582(c)(1)(A) (emphasis added). A defendant may file such a motion

after exhausting administrative remedies. Or the defendant may file such a motion

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without exhausting administrative remedies if more than 30 days have passed since

the defendant delivered a request for relief to the warden of the defendant’s

facility. This order assumes without deciding that the exhaustion-or-30-days

requirement has been met.

         The statute allows a sentence reduction if, after considering the sentencing

factors in 18 U.S.C. § 3553(a) to the extent applicable, the court finds that

“extraordinary and compelling reasons warrant such a reduction” and the

“reduction is consistent with applicable policy statements issued by the Sentencing

Commission.” 18 U.S.C. § 3582(c)(1)(A). The “policy statements of the

Sentencing Commission” are set out in United States Sentencing Guidelines

Manual (“Guidelines Manual”) § 1B1.13 (2018).

         As relevant here, the provision allows a sentence reduction if

“[e]xtraordinary and compelling reasons warrant the reduction” and the defendant

“is not a danger to the safety of any other person or to the community.” Id. An

application note lists categories of extraordinary and compelling reasons, none

applicable here, but concludes with a catchall: “an extraordinary and compelling

reason other than” those that are listed. Id. cmt. n.1(D).

         By its terms, the catchall provision requires the extraordinary-and-

compelling-reason determination to be made by the Director of the Bureau of

Prisons. But when the catchall provision was adopted, only the Director could



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move for compassionate release. Now the First Step Act authorizes compassionate

release on the court’s own motion. The determination now can be made by the

court; the note’s requirement for a determination by the Director is inconsistent

with the statute.

         At least as shown by this record, Mr. Knight faces no greater risk than an

average prisoner from covid-19. That risk, without more, does not make a prisoner

eligible from release this far removed from completion of a sentence.

         In any event, as a matter of discretion, and upon consideration of the 18

U.S.C. § 3553(a) factors and all the circumstances, I conclude that Mr. Knight’s

sentence should not be reduced at this time. The sentence as imposed remains the

appropriate sentence. This order thus does not appoint an attorney for Mr. Knight.

But a copy of this order will be provided to the Federal Public Defender, who may,

if he chooses, seek appointment and reconsideration of this order based on

additional medical information.

         This order does not preclude the Bureau of Prisons from releasing Mr.

Knight to home confinement under the Coronavirus Aid, Relief, and Economic

Security Act, Pub. L. No. 116-136 § 12003(b)(2). This order expresses no opinion

one way or the other on whether the Bureau should do so.

         IT IS ORDERED:

         1. Mr. Knight’s motion to appoint an attorney, ECF No. 43, is denied.



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         2. Mr. Knight’s motion for a sentence reduction, ECF No. 44, is denied.

         3. The clerk must provide copies of this order to Mr. Knight himself by mail

and to the attorneys of record and the Federal Public Defender through the

electronic filing system.

         SO ORDERED on June 3, 2020.

                                         s/Robert L. Hinkle
                                         United States District Judge




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